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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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In the Matter of the Petition of GRACE

OCEAN PRIVATE LIMITED, ef al., for Civ. No. JKB-24-941

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Exoneration from or Limitation of IN ADMIRALTY
Liability
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ORDER

The Court is in receipt of correspondence from the Petitioners, Grace Ocean Private
Limited and Synergy Marine Pte, Ltd., (ECF No. 23), which the Court will treat as a motion.
Having reviewed the Petitioners’ submission and the relevant Admiralty and Maritime
Supplemental Rules of the Federal Rules of Civil Procedure, it is ORDERED that THE CLERK
SHALL STRIKE the phrase “answer due by 5/13/2024” from the docket entry for ECF No. 17 and
the phrase “answer due by 5/16/2024” from the docket entry for ECF No. 21. See Fed. R. Civ. P.
Supp. R. F(5) (requiring answers from claimants challenging limitation or exoneration, but not

requiring further responsive pleadings from petitioners).

DATED this 2 day of May, 2024.

BY THE COURT:

CD BK Arabs

James K. Bredar
United States District Judge

